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13   DoNotPay, Inc.
14

15                               UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                  SAN FRANCISCO DIVISION

18   JONATHAN FARIDIAN, individually and on         )   CASE NO.: 3:23-cv-01692-RFL
     behalf of all others similarly situated,       )
19                                                  )   DEFENDANT DONOTPAY, INC.’S
                   Plaintiff,                       )   RESPONSE TO PLAINTIFF’S
20                                                  )   ADMINISTRATIVE MOTION TO
            v.                                      )   SEAL
21                                                  )
22   DONOTPAY, INC., a Delaware corporation,        )   Judge: Hon. Rita F. Lin
                                                    )
23                 Defendant.                       )   Date Action Filed: March 3, 2023
                                                    )   Date of Removal: April 7, 2023
24                                                  )
                                                    )
25                                                  )
26                                                  )

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     DEF. DONOTPAY, INC.’S RESP. TO MOT. TO SEAL
     CASE NO.: 3:23-cv-01692-RFL
        Case 3:23-cv-01692-RFL Document 61 Filed 02/06/24 Page 2 of 2



 1          This submission on behalf of Defendant DoNotPay, Inc. (“DNP”) responds to the Court’s

 2   Order to Show Cause Why Plaintiff’s Reply in Support of His Motion for Jurisdictional Discovery
 3
     and Supporting Exhibit Should Not be Unsealed, entered February 1, 2024. ECF No. 59.
 4
            DNP does not move to seal the references, paraphrases, or quotations that Plaintiff
 5
     included in the Reply (ECF No. 34), does not seek to seal Exhibit 2 to the Reply (ECF No. 34-3),
 6
     and has no objection to their unsealing.
 7

 8                                               Respectfully submitted,

 9
     Dated: Feburary 6, 2024                     WILSON SONSINI GOODRICH & ROSATI
10                                               Professional Corporation
11
                                                 By: /s/ Dale Bish
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                                                 Attorneys for Defendant
22                                               DoNotPay, Inc.
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     DEF. DONOTPAY, INC.’S RESP. TO MOT. TO SEAL     -1-
     CASE NO.: 3:23-cv-01692-RFL
